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United States Court of Appeals

FOR THE DISTRICT OF COLUMBIA CIRCUIT

September Term, 2019

 

 

 

 

 

 

 

 

20cv2023
No. 496
Common Cause, et al., UNITED STATES COURT OF APPEALS
FOR DISTRICT OF.CS!.UMBIA CIRCUIT
Plaintiffs,
Flep} = AC 24 2020
Vv.
Donald J. Trump, ef ai., CLERK
Defendants.

DESIGNATION OF JUDGES TO SERVE ON
THREE-JUDGE DISTRICT COURT

The Honorable Christopher R. Cooper, Judge, United States District Court for the
District of Columbia, having notified me of his conclusion that the above-captioned case
is an appropriate one for the convocation of a three-judge District Court, and having
requested that such a three-judge court be appointed to hear and decide this case, it is

ORDERED, pursuant to 28 U.S.C. § 2284, that the Honorable Gregory G. Katsas,
Circuit Judge, United States Court of Appeals for the District of Columbia Circuit, and
the Honorable Dabney L. Friedrich, Judge, United States District Court for the District of
Columbia, are hereby designated to serve with the Honorable Christopher R. Cooper as
members of the court to hear and determine this case. Judge Katsas will preside.

Ae Lhe

Sri Srinivasan
Chief Judge

Date: August 24, 2020
